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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                        MDL NO 2924
   PRODUCTS LIABILITY                                                                 20-MD-2924
   LITIGATION

                                                           JUDGE ROBIN L ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE REINHART

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   THIS DOCUMENT RELATES TO: ALL CASES

                                    PRETRIAL ORDER # 58
                             Eighth Census Implementation Order:
                 Product Identification Collections for Remaining Filed Plaintiffs
              and Unfiled Registry Claimants by Retailer and Pharmacy Defendants

          The Court has entered a number of prior Pretrial Orders creating (Pretrial Order # 15) and

   implementing (Pretrial Orders #’s 38, 42, 50, and 51) the Census Registry. In Pretrial Order # 51,

   the Court set forth the initial obligations of Retailer and Pharmacy Defendants (“RPDs”) to provide

   certain prescription and customer loyalty card purchase information for Filed Plaintiffs, with the

   expectation that a subsequent Order would be entered in December 2020 for similar collections

   for Unfiled Claimants and any Filed Plaintiffs who did not request records as part of the initial

   tranche. This Pretrial Order was jointly submitted by the Parties and is entered at their request,

   and outlines the second phase of these product identification collections.

   I.      BACKGROUND AND SCOPE OF ORDER.

          Pretrial Order # 51 set forth the process by which the RPDs would collect an initial set of

   product identification (“PID”) records for Filed Plaintiffs; the RPDs’ respective obligations to

   collect and produce PID records were to be triggered by the delivery of information by counsel for

   the Filed Plaintiffs in Sections B, C, and D of Pretrial Order # 51, including the “Required

   Identifiers” defined in Section B.1. of that Order. Pretrial Order # 51 further recognized the
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   importance of “the [PID records collection] process be[ing] rolled out first using a representative

   sample to ensure the workability of the process for the remainder of the Census Registry

   participants, so as to allow for any necessary modifications in the process prior to its expansion to

   the entire Census Registry,” and that subsequent Pretrial Order(s) would address any process

   improvements and/or modifications the Parties might recommend to this Court for the remaining

   Unfiled Claimants and/or Filed Plaintiffs.

          Since that date, various counsel for Filed Plaintiffs have submitted the necessary

   information to initiate these collections, and on December 17, 2020, the RPDs provided initial PID

   records for the Filed Plaintiffs meeting the criteria under Pretrial Order # 51 and pursuant to the

   deadlines in Section D of that Order. The Parties likewise have continued to work with Census

   Registry platform vendor, Litigation Management, Inc. (“LMI”), to make improvements to the

   “LMI Portal”, available at www.lmi-med.com (see Pretrial Order # 51, Section B.2.), as well as to

   make additional modifications and improvements to the manner and format of LMI’s PID reports

   to the RPDs (see Pretrial Order # 51, Section D.2.).

          Additionally, since the entry of Pretrial Order # 51, the Parties have had the benefit of

   access to aggregate reporting data from LMI pursuant to Pretrial Order # 53, identifying, among

   other things, the number of and type of claims and cases against each RPD. These aggregate

   reports have provided the Parties with some clarity regarding the potential scope of PID collections

   that each individual RPD will be asked to undertake. The LMI aggregate reporting data likewise

   make clear that the RPDs are not a monolith—rather, certain RPDs are subject to substantially

   more claims than others, and with that, may face substantially greater obligations for PID

   collections. Accordingly, in lieu of an all-purpose Order governing the next stage of PID collection

   and productions and attendant deadlines, the Parties have agreed to the process outlined below in




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   order to ensure that the second tranche of collections will permit the Parties to work together to

   craft workable, individualized timelines for the RPDs as additional Census Plus Forms are

   submitted and as additional Required Identifiers are submitted through the LMI Portal.

   II.      TRANCHE TWO COLLECTION AND PRODUCTION OF PID RECORDS FOR
            REMAINING FILED PLAINTIFFS AND UNFILED CLAIMANTS.

         1. The process outlined in Pretrial Order # 51 will continue to govern the manner in which

            PID Records are requested from RPDs. This includes submission of Required Identifiers,

            HIPAA authorizations, and necessary certifications by Filed Plaintiffs/Unfiled Claimants

            and their counsel, which must be submitted via the LMI Portal, rather than directly to

            counsel or via direct request to the RPDs.

         2. The Parties recognize that as of December 17, 2020, the RPDs have collected and produced

            PID records for the Filed Plaintiffs meeting the criteria under Pretrial Order # 51, and that

            there are a limited number of Filed Plaintiffs/Unfiled Claimants who have submitted

            information via the LMI Portal since the first round of collections began. The next tranche

            of PID records collections will begin in January 2021, as soon as the Filed

            Plaintiffs/Unfiled Claimants have submitted and LMI has collected additional data through

            the LMI Portal to trigger second-round collections.

         3. Rather than to outline a rigid schedule for these collections based upon a yet-unknown

            dataset, the Parties instead have agreed that the second tranche of collections must take into

            consideration the individualized capabilities and capacities of each RPD, and therefore,

            that the expectations and schedules for the second tranche of PID record collections will

            likewise be individualized for each RPD, subject to the following general criteria:

                a.   Each RPD shall produce PID records pursuant to the timeline agreed by the Parties

                     in the RPD Core Discovery Agreement.



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             b. If any RPD has endeavored in good faith to collect PID records, but is unable to

                meet the agreed-upon deadline for production under the RPD Core Discovery

                Agreement, counsel for the RPD shall notify Special Master Dodge, who will grant

                necessary extensions following consultation with RPD Liaison Counsel and

                Co-Lead Counsel (Sarah Johnston on behalf of the RPDs, Adam Pulaski as

                Co-Lead for Plaintiffs, and Joe Petrosinelli as Co-Lead for Defendants). The

                Parties agree that requests for extension should not be unreasonably denied.

      4. The LMI Portal is now open for submission by any remaining Filed Plaintiffs, as well as

         Unfiled Claimants, subject to the requirements set forth above and in Pretrial Order #51.

         Collection and production of any requested PID records shall follow the general guidelines

         of Section 3 above, with attention to the individualized issues and capacities/capabilities

         of the individual RPDs.

      5. Special Master Dodge may direct any necessary modifications to the process, may direct

         prioritization of certain Census Registry participants, and/or may alter the schedule for

         deliverables for any RPD following consultation with counsel for that RPD and Co-Lead

         Counsel for the Parties.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 31st day of

   December, 2020.



                                                      ROBIN L. ROSENBERG
                                                      UNITED STATES DISTRICT JUDGE




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